           Case 1:19-cv-08731-MKV Document 83 Filed 11/30/20 Page 1 of 2




UNITED STATES DISTRICT COURT                                               USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                              DOCUMENT
                                                                           ELECTRONICALLY FILED
 STEPHEN L. CHORBA, individually and on                                    DOC #:
 behalf of others similarly situated,                                      DATE FILED: 11/30/2020

                            Plaintiff,
                                                                 1:19-cv-08731 (MKV)
                     -against-
                                                               ORDER STAYING CASE
 NORTHERN LEASING SYSTEMS, INC.,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       On June 8, 2020, the Supreme Court of the State of New York entered an order

dissolving the Defendant corporation and granting other relief. See ECF No. 80. That decision

is on appeal to the First Department of the New York Supreme Court, Appellate Division. In

response, the Court asked the Parties whether a stay of this action was appropriate in light of the

state court case. See ECF No. 81. The Parties filed a joint letter addressing the Court’s concerns

but disagreed about whether to stay this action. See ECF No. 82. In the Court’s view, the state

court action will have a substantial effect on the resolution of this case, including the relief

Plaintiff seeks and the arguments made in support of and opposition to the pending motion to

dismiss.

       Accordingly, this case is STAYED pending the conclusion of appeals of the state court

order. The Parties must submit a joint letter to the Court by ECF every 60 days beginning on

February 1, 2021 regarding the status of the state court litigation. This stay does not prevent the

Parties from continuing to engage in settlement discussions. In the event the state court appeals

are finalized, and final judgement is entered, the Parties must inform the Court within three days.
         Case 1:19-cv-08731-MKV Document 83 Filed 11/30/20 Page 2 of 2




       The Clerk of Court respectfully is requested to terminate all deadlines in this action, close

all pending motions, and stay this action pending further order of the Court.




SO ORDERED.
                                                     _________________________________
Date: November 30, 2020                              MARY KAY VYSKOCIL
      New York, NY                                   United States District Judge




                                                 2
